Case No. 1:08-cv-01739-ZLW Document 2 filed 08/15/08 USDC Colorado pgi1of4

FILE
unre sraret fin COURT
IN THE UNITED STATES DISTRICT COURT PENVER, COLORADO
FOR THE DISTRICT OF COLORADO Mee bee.

; 1 ew om BAD
Civil Action No. U8 OV / 0 I ¢ 3 9 GREGORY C. LANGHAM

(The above civil action number must appear on all future papers | CLERK
Z . . . . 2 renee,
sent to the court in this action. Failure to include this number
may result in a delay in the consideration of your claims.)

FREDERICK D. MOORE,
Plaintiff,
Vv.

HEAD OF THE MEDICAL DEPT. BOULDER COUNTY JAIL COMMANDER HAAS
MEDICAL/INFIRMARY,

Defendant.

ORDER DIRECTING CLERK TO COMMENCE CIVIL ACTION AND
DIRECTING PLAINTIFF TO CURE DEFICIENCY

Plaintiff has submitted a Prisoner's Motion and Affidavit for Leave to Proceed
Pursuant to 28 U.S.C. §1915, a Motion to File Without Payment of Filing Fee, an
Application for Public Defender, Court-Appointed Counsel, or Guardian Ad Litem, and a
Prisoner Complaint. As part of the court's review pursuant to D.C.COLO.LCivR 8.2, the
court has determined that the submitted documents are deficient as described in this
order. Notwithstanding the deficiencies, the clerk of the court will be directed to
commence a civil action. Plaintiff will be directed to cure the following if he wishes to
pursue his claims. Any papers which the Plaintiff files in response to this order must
include the civil action number on this order.

28 U.S.C. § 1915 Motion and Affidavit:

(1)  _ — is not submitted
(2) __ _ is missing affidavit

Case No. 1:08-cv-01739-ZLW Document 2 filed 08/15/08 USDC Colorado pg 2 of 4

(3) xX is missing certified copy of prisoner's trust fund statement for the 6-month
period immediately preceding this filing

LAN Lew wnt ce ee ee

(5) __ is missing an original signature by the prisoner

(6) _. isnot on proper form (must use the court's current form)

(7) __ names in caption do not match names in caption of complaint, petition or
habeas application

(8) __  Anoriginal and a copy have not been received by the court.
Only an original has been received.

(9) _ other:

Complaint, Petition or Application:
(10) __ is not submitted
(11) X is not on proper form (must use the court's current form)

(12) __ __ is missing an original signature by the prisoner

(13) __ is missing page nos. ___

(14) __ _—_uses et al. instead of listing all parties in caption

(15) __  Anoriginal and a copy have not been received by the court. Only an
original has been received.

(16) _ Sufficient copies to serve each defendant/respondent have not been

received by the court.
(17) __ names in caption do not match names in text
(18) _ — other

Accordingly, it is
ORDERED that the clerk of the court commence a civil action in this matter. It is
FURTHER ORDERED that the Plaintiff cure the deficiencies designated above
within thirty (30) days from the date of this order. Any papers which the Plaintiff
files in response to this order must include the civil action number on this order. It is
FURTHER ORDERED that the clerk of the court mail to the Plaintiff, together
with a copy of this order, two copies of the following form(s): Prisoner Complaint. It is
FURTHER ORDERED that, if the Plaintiff fails to cure the designated

deficiencies within thirty (30) days from the date of this order, the complaint and the

Case No. 1:08-cv-01739-ZLW Document 2 filed 08/15/08 USDC Colorado pg 3 of 4

MUSE Nn MO MISH OGU WHITUUL TUTIGE HULLS, KS _e Salil De WitnOutl prejudice.

DATED at Denver, Colorado, this \a day of 4 , 2008.

BY THE COURT:

Mo

CRAIG B. SHAFFER
United States Magistrate Judge

Case No. 1:08-cv-01739-ZLW Document 2 filed 08/15/08 USDC Colorado pg 4of4

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 08 mm CY = {) 17 3 9

Frederick D. Moore
Prisoner No. P87469
Boulder County Jail
3200 Airport Road
Boulder, CO 80301

| hereby certify that | have mailed a copy of the ORDER and tw copies of the
Prisoner Complaint form to the above-named individuals on [1s log

GREGORY C. LANGHAM, CLERK

By: N

(peru Clerk

